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 8                                 UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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                                              FRESNO DIVISION
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13   GERALD CARLIN, JOHN RAHM, PAUL
     ROZWADOWSKI and DIANA WOLFE,                             Case No. 1:09-cv-00430-AWI-GSA
14   individually and on behalf of themselves and all
     others similarly situated,
                                                              CLASS ACTION
15                                    Plaintiffs,
     v.
                                                              ORDER GRANTING PLAINTIFFS’
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     DAIRYAMERICA, INC. and CALIFORNIA                        REQUEST TO SEAL DOCUMENTS
17   DAIRIES, INC.,                                           AND FILE REDACTED VERSIONS IN
                             Defendants.                      PART
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     [1:09-cv-00430-AWI-GSA] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENTS AND FILE REDACTED VERSIONS
           Case 1:09-cv-00430-AWI-EPG Document 159 Filed 07/03/14 Page 2 of 2



 1                                                    ORDER
 2           This matter comes before the Court on the Plaintiffs’ Request to Seal Documents and File
 3   Redacted Versions (“Request”) pursuant to Civil Local Rules 140 and 141. Upon consideration
 4   of the pleading, the request is granted IN PART. Accordingly, it is hereby ordered that the Clerk
 5   of the Court is directed to file unredacted versions of the following documents under seal :
 6           1. Plaintiffs’ Memorandum in Support of Motion For Leave To File Second Amended
 7                Consolidated Complaint;
 8           2. Declaration of Benjamin Doyle Brown in Support of Plaintiffs’ Motion For Leave To
 9                File Seconded Amended Complaint; and
10           3. Plaintiffs’ [Proposed] Second Amended Complaint.
11            In order to facilitate the filing of the above documents under seal, Plaintiff shall e-mail the
12   documents to the following e-mail address: ApprovedSealed@caed.uscourts.gov. Plaintiffs’ request
13   that the Clerk of the Court file the redacted versions of these documents on the docket is DENIED.
14   Plaintiffs shall file the redacted versions of these documents directly via CM/ECF after the sealed
15   documents have been filed by the Clerk of the Court.
16           Finally, Plaintiffs are advised the only the Court can view the sealed documents. Opposing
17   counsel or Plaintiffs will not be able to view the sealed documents via the CM/ECF system. As such,
18   Plaintiffs shall serve opposing counsel with the copies of the unredacted copies to the extent that
19   service has not already been effectuated.
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     IT IS SO ORDERED.
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22       Dated:     July 3, 2014                               /s/ Gary S. Austin
                                                     UNITED STATES MAGISTRATE JUDGE
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     [1:09-cv-00430-AWI-GSA] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENTS AND FILE REDACTED VERSIONS    2
